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 8                            UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                              October 2023 Grand Jury
11    UNITED STATES OF AMERICA,              CR No.     2:24-cr-00483-HDV

12                    Plaintiff,             I N D I C T M E N T
13                    v.                     [18 U.S.C. § 1546(a): Fraud and
                                             Misuse of Visas; 18 U.S.C.
14    SAMIR OUSMAN ALSHEIKH,                 § 1425(a): Attempted Unlawful
                                             Procurement of Naturalization]
15                    Defendant.
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18         The Grand Jury charges:
19                              INTRODUCTORY ALLEGATIONS
20         At times relevant to this Indictment:
21    A.   SYRIA AND ADRA PRISON
22         1.    The Syrian Arab Republic (“Syria”) was a country in
23    the Middle East. Damascus was the capital of Syria.
24         2.    Bashar al-Assad has been the president of Syria since
25    2000. Bashar al-Assad was the leader of the Syrian Branch of the
26    Arab Socialist Ba’ath Party (“the Syrian Ba’ath Party”), a
27    totalitarian party that dominated the Syrian government. During
28    Bashar al-Assad’s presidency, Syria’s military, domestic
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 1    security services, intelligence agencies, and other ministries

 2    have attempted to quash opposition to the government, including

 3    by imprisoning political dissidents.

 4         3.    Damascus Central Prison, which was located in the

 5    northeastern suburbs of Damascus near the village of Adra, was

 6    known as “Adra Prison.” The Syrian Interior Ministry operated

 7    Adra Prison. Adra Prison held political prisoners and prisoners

 8    accused or convicted of other types of crimes.

 9    B.   THE DEFENDANT

10         4.    Defendant SAMIR OUSMAN ALSHEIKH was a Syrian

11    government official. At times, defendant ALSHEIKH worked for the

12    Public Security Police, which was under the authority of the

13    Syrian Interior Ministry. At other times, defendant ALSHEIKH

14    worked for the Political Security Branch, a domestic Syrian

15    intelligence agency focused on countering political dissent.

16    Defendant ALSHEIKH rose to the rank of Brigadier General, a rank

17    that was used in the Syrian Interior Ministry and the Political

18    Security Branch, as well as in the military.

19         5.    From in or about 2005 and continuing through in or

20    about 2010, defendant ALSHEIKH was the head of Adra Prison.

21    During his time as the head of Adra Prison, political dissidents

22    and other prisoners were severely physically abused.

23         6.    Following his role as the head of Adra Prison,

24    defendant ALSHEIKH was appointed governor of the province of

25    Deir Ez-Zour by Syrian President Bashar al-Assad, in or about

26    July 2011. The photograph below depicts defendant ALSHEIKH and

27    Bashar al-Assad on or about July 25, 2011, when Assad appointed

28    defendant ALSHEIKH governor of Deir Ez-Zour.

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14    C.   THE DEFENDANT’s IMMIGRATION TO THE UNITED STATES
15         7.    On or about April 19, 2018, defendant ALSHEIKH
16    submitted a DS-260 Immigrant Visa Application to the U.S. State
17    Department, requesting entry into the United States. Defendant
18    ALSHEIKH’s DS-260 Immigrant Visa Application contained
19    materially false information and concealed material information.
20         8.    On or about August 26, 2018, defendant ALSHEIKH
21    falsely stated under oath at the U.S. Embassy in Amman, Jordan,
22    that the information in his DS-260 Visa Application was true and
23    correct.
24         9.    On or about January 22, 2020, defendant ALSHEIKH again
25    falsely stated under oath at the U.S. Embassy in Amman, Jordan,
26    that the information in his DS-260 Visa Application was true and
27    correct.
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 1         10.   On or about January 23, 2020, the U.S. State

 2    Department approved defendant ALSHEIKH’s DS-260 Visa

 3    Application.

 4         11.   On or about March 4, 2020, defendant ALSHEIKH used the

 5    visa he had unlawfully and fraudulently obtained to unlawfully

 6    enter the United States at Los Angeles International Airport,

 7    unlawfully become a Lawful Permanent Resident of the United

 8    States, and unlawfully become eligible for a Permanent Resident

 9    Card (also known as an “Alien Registration Receipt Card” and

10    commonly referred to as a “green card”).

11         12.   On or about March 25, 2020, U.S. Citizenship and

12    Immigration Services issued and mailed to defendant ALSHEIKH a

13    physical copy of his green card.

14    D.   THE DEFENDANT’s APPLICATION TO BECOME A NATURALIZED UNITED
           STATES CITIZEN
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16         13.   On or about January 7, 2023, defendant ALSHEIKH

17    submitted an N-400 Application for Naturalization as a United

18    States citizen. Defendant’s N-400 Application for Naturalization

19    contained materially false information and concealed material

20    information.

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 1                                    COUNT ONE

 2                             [18 U.S.C. § 1546(a)]

 3         14.   The Grand Jury realleges paragraphs 1 through 13 of

 4    this Indictment here.

 5         15.   From on or about March 23, 2020, and continuing

 6    through on or about July 10, 2024, in Los Angeles County, within

 7    the Central District of California, and elsewhere, defendant

 8    SAMIR OUSMAN ALSHEIKH knowingly used, possessed, and obtained a

 9    document prescribed by statute and regulation for entry into and

10    as evidence of authorized stay and employment in the United

11    States, that is, a Permanent Resident Card (also known as an

12    “Alien Registration Receipt Card” and commonly referred to as a

13    “green card”), which defendant ALSHEIKH knew to have been

14    procured by means of false claims and statements, namely:

15         False Statement 1: In response to the question: “Have you

16    committed, ordered, incited, assisted, or otherwise participated

17    in extrajudicial killings, political killings, or other acts of

18    violence?”, defendant ALSHEIKH answered: “No,” when, in fact, as

19    defendant ALSHEIKH well knew, while he was the head of Adra

20    Prison from in or about 2005 and continuing through in or about

21    2010, he had committed, ordered, incited, assisted, and

22    otherwise participated in acts of violence against prisoners at

23    Adra Prison.

24         False Statement 2: In response to the question: “Are you a

25    member of or affiliated with the Communist or other totalitarian

26    party?”, defendant ALSHEIKH answered: “No,” when, in fact, as

27    defendant ALSHEIKH well knew, through the positions he held in

28    the Syrian government, including as the head of Adra Prison and

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 1    the governor of Deir Ez-Zour, he was affiliated with the Syrian

 2    Ba’ath Party, the totalitarian party that ruled Syria.

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 1                                    COUNT TWO

 2                             [18 U.S.C. § 1425(a)]

 3         16.   The Grand Jury realleges paragraphs 1 through 13 of

 4    this Indictment here.

 5         17.   On or about January 7, 2023, in Los Angeles County,

 6    within the Central District of California, and elsewhere,

 7    defendant SAMIR OUSMAN ALSHEIKH knowingly attempted to procure

 8    for himself, contrary to law, naturalization as a United States

 9    citizen, to which he was not entitled, by making materially

10    false statements under penalty of perjury in connection with his

11    naturalization application, namely:

12         False Statement 1: In response to the question: “Have you

13    EVER been a member of, involved in, or in any way associated

14    with, any organization, association, fund, foundation, party,

15    club, society, or similar group in the United States or in any

16    other location in the world?”, defendant ALSHEIKH answered:

17    “No,” when, in fact, as defendant ALSHEIKH then well knew,

18    through the positions he held in the Syrian government,

19    including as the head of Adra Prison and the governor of Deir

20    Ez-Zour, he was associated with the Syrian Ba’ath Party, the

21    totalitarian party that ruled Syria.

22         False Statement 2: In response to the question: “Have you

23    EVER been a member of, or in any way associated (either directly

24    or indirectly) with [a]ny . . . totalitarian party?”, defendant

25    ALSHEIKH answered: “No,” when, in fact, as defendant ALSHEIKH

26    then well knew, through the positions he held in the Syrian

27    government, including as the head of Adra Prison and the

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 1    governor of Deir Ez-Zour, he was associated with the Syrian

 2    Ba’ath Party, the totalitarian party that ruled Syria.

 3         False Statement 3: In response to the question: “Have you

 4    EVER persecuted (either directly or indirectly) any person

 5    because of race, religion, national origin, membership in a

 6    particular social group, or political opinion?”, defendant

 7    ALSHEIKH answered: “No,” when, in fact, as defendant ALSHEIKH

 8    then well knew, while he was the head of Adra Prison from in or

 9    about 2005 and continuing through in or about 2010, defendant

10    ALSHEIKH persecuted directly and indirectly persons because of

11    their political opinions.

12         False Statement 4: In response to the question: “Were you

13    EVER involved in any way with . . . [k]illing, or trying to

14    kill, someone?”, defendant ALSHEIKH answered: “No,” when, in

15    fact, as defendant ALSHEIKH then well knew, while he was the

16    head of Adra Prison from in or about 2005 and continuing through

17    in or about 2010, defendant ALSHEIKH was involved in the killing

18    of prisoners.

19         False Statement 5: In response to the question: “Were you

20    EVER involved in any way with . . . [b]adly hurting, or trying

21    to hurt, a person on purpose?”, defendant ALSHEIKH answered:

22    “No,” when, in fact, as defendant ALSHEIKH then well knew, while

23    he was the head of Adra Prison from in or about 2005 and

24    continuing through in or about 2010, defendant ALSHEIKH was

25    involved in badly hurting, and trying to hurt, prisoners on

26    purpose.

27         False Statement 6: In response to the question: “Were you

28    EVER a member of, or did you EVER serve in, help, or otherwise

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 1    participate in . . . [a p]olice unit?”, defendant ALSHEIKH

 2    answered: “No,” when, in fact, as defendant ALSHEIKH then well

 3    knew, he had served in a police unit in Syria.

 4         False Statement 7: In response to the question: “Were you

 5    EVER a worker, volunteer, or soldier, or did you otherwise EVER

 6    serve in . . . [a p]rison or jail?”, defendant ALSHEIKH

 7    answered: “No,” when, in fact, as defendant ALSHEIKH then well

 8    knew, he worked as the head of Adra Prison.

 9         False Statement 8: In response to the question: “Were you

10    EVER a worker, volunteer, or soldier, or did you otherwise EVER

11    serve in . . . [a d]etention facility (a place where people are

12    forced to stay)?”, defendant ALSHEIKH answered: “No,” when, in

13    fact, as defendant ALSHEIKH then well knew, he worked as the

14    head of Adra Prison, which was a detention facility where people

15    were forced to stay.

16         False Statement 9: In response to the question: “Were you

17    EVER a part of any group, or did you EVER help any group, unit,

18    or organization that used a weapon against any person, or

19    threatened to do so?” defendant ALSHEIKH answered: “No,” when,

20    in fact, as defendant ALSHEIKH then well knew, while he was the

21    head of Adra Prison, defendant ALSHEIKH was part of the Syrian

22    Interior Ministry, which used weapons against prisoners at Adra

23    Prison.

24         False Statement 10: In response to the question: “Have you

25    EVER given any U.S. Government officials any information or

26    documentation that was false, fraudulent, or misleading?”,

27    defendant ALSHEIKH answered: “No,” when, in fact, as defendant

28    ALSHEIKH then well knew, on or about April 19, 2018, defendant

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 1    ALSHEIKH gave false, fraudulent, and misleading information when

 2    he stated on his DS-260 Immigrant Visa Application that he had

 3    not “committed, ordered, incited, assisted, or otherwise

 4    participated in extrajudicial killings, political killings, or

 5    other acts of violence,” and that he was not “a member of or

 6    affiliated with . . . [a] totalitarian party.”

 7          False Statement 11: In response to the question: “Have you

 8    EVER lied to any U.S. Government officials to gain entry or

 9    admission into the United States or to gain immigration benefits

10    while in the United States?”, defendant ALSHEIKH answered: “No,”

11    when, in fact, as defendant ALSHEIKH then well knew, on or about

12    August 26, 2018, and on or about January 22, 2020, defendant

13    ALSHEIKH lied when he stated under oath that his DS-260

14    Immigrant Visa Application was true and correct, when, in fact,

15    it had been falsely stated on the application that he had not

16    “committed, ordered, incited, assisted, or otherwise

17    participated in extrajudicial killings, political killings, or

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 1    other acts of violence,” and that he was not “a member of or

 2    affiliated with . . . [a] totalitarian party.”

 3
                                                 A TRUE BILL
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 6                                               Foreperson
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 9     E. MARTIN ESTRADA                         NICOLE M. ARGENTIERI
       United States Attorney                    Principal Deputy Assistant
10                                               Attorney General
                                                 Head of the Criminal Division
11                                               United States Department of
                                                 Justice
12     MACK E. JENKINS
       Assistant United States Attorney          PATRICK JASPERSE
13     Chief, Criminal Division                  ALEXANDRA SKINNION
14                                               Trial Attorneys
       JOSHUA O. MAUSNER                         Human Rights and Special
15     Assistant United States Attorney          Prosecutions Section
       Chief, Violent and Organized              Criminal Division
16     Crime Section                             United States Department of
17                                               Justice

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